                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI



RUSSELL BUCKLEW,                                           Civil Action No. 4:14-CV-8000-BP

                                Plaintiff,                 Hon. Beth Phillips

       vs.

GEORGE LOMBARDI, et al.,

                                Defendant.



                         NOTICE OF APPEAL
   TO THE UNITED STATES COURT OF APPEALS FOR THE EIGHTH CIRCUIT

       Notice is hereby given that Russell Bucklew, the Plaintiff, hereby appeals to the United

States Court of Appeals for the Eighth Circuit from the final judgment entered in this action on

the 21st day of August, 2017.

 Date: September 19, 2017

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                                CERTIFICATE OF SERVICE


      I hereby certify that on September 19, 2017, the foregoing was served via the Court’s
electronic filing system on Michael J. Spillane, Assistant Attorney General,
mike.spillane@ago.mo.gov, counsel of record for Defendants.

                                                    /s/ Cheryl A. Pilate
                                                    Cheryl A. Pilate




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